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        ORDERED in the Southern District of Florida on May 18, 2016.




                                                               Raymond B. Ray, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA

        In re:
        DOUGLASS CREIGHTON                                CASE NO.: 15-22333-RBR
                                                          CHAPTER: 13

                           Debtors           /


          ORDER ON MOTION TO AVOID JUDICIAL LIEN ON REAL PROPERTY, DE #54

               THIS MATTER came before the Court on May 12, 2016, upon the Debtor, DOUGLASS

        CREIGHTON’S, Motion to Avoid Judicial Lien on Real Property, D.E. #54 (the “Motion”).

        Having considered the Motion, the reasons stated on the record, and being otherwise fully

        advised in the premises it is;

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       ORDERED as follows:

                    1.      The Debtors’ Motion, D.E. #54, is hereby GRANTED,

                                                  ###



Submitted by:
RICARDO CORONA, ESQ.
Florida Bar No. 111333
3899 NW 7 Street, Suite 202-B
Miami, FL 33126
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The party submitting the order shall serve a copy of the signed order on all required parties and
file with the court a certificate of service conforming with Local Rule 2002-1(F).




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